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 4
     Attorney for Defendant
 5   DARRON DIMITRI ROSS

 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,               )   Case No.: 2:18 CR 266 WBS
10                                           )
                         Plaintiff,          )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL
     vs.                                     )   ACT;[PROPOSED] FINDINGS
12                                           )
     ERIC LEMOYNE WILLIS and DARRON          )   Date: June 24, 2019
13                                           )   Time: 9:00 a.m.
     DIMITRI ROSS,       Defendants.         )   Judge: Honorable William B. Shubb
14                                           )

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16         The United States of America through its undersigned counsel, Robert J,

17   Artuz, Assistant United States Attorney, together with counsel for defendant

18   Eric Lemoyne Willis, Daniel Lars Olsen, Esq., and counsel for defendant

19   Darron Dimitri Ross, John R. Manning, Esq., hereby stipulate the following:

20         1.     By previous order, this matter was set for status conference on May

21   6, 2019.

22         2.     By this stipulation the defendants now move to continue the status

23   conference until June 24, 2019 and to exclude time between May 6, 2019 and

24   June 24, 2019 under the Local Code T-4 (to allow defense counsel further time

25   to prepare).

26         3.     The parties agree and stipulate, and request the Court find the

27   following:

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 1        a. Counsel for defendant Darron Dimitri Ross was appointed on February

 2             21, 2019.   The government provided the defense with 6,709 pages and

 3             a few audio files of discovery as well as a flash drive containing a

 4             voluminous amount of cellphone and email data.

 5        b. Counsel for the defendants need additional time to review the

 6             discovery, conduct investigation, and interview potential witnesses.

 7        c. Counsel for the defendants believe the failure to grant a

 8             continuance in this case would deny defense counsel reasonable time

 9             necessary for effective preparation, taking into account the

10             exercise of due diligence.

11        d. The government does not object to the continuance.

12        e. Based on the above-stated findings, the ends of justice served by

13             granting the requested continuance outweigh the best interests of

14             the public and the defendants in a speedy trial within the original

15             date prescribed by the Speedy Trial Act.

16        f. For the purpose of computing time under the Speedy Trial Act, 18

17             United States Code Section 3161(h)(7)(A) within which trial must

18             commence, the time period of May 6, 2019, to June 24, 2019,

19             inclusive, is deemed excludable pursuant to 18 United States Code

20             Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4

21             because it results from a continuance granted by the Court at the

22             defendants’ request on the basis of the Court’s finding that the

23             ends of justice served by taking such action outweigh the best

24             interest of the public and the defendants in a speedy trial.

25        4.    Nothing in this stipulation and order shall preclude a finding that

26   provision of the Speedy Trial Act dictate that additional time periods are

27   excludable from the period within which a trial must commence.

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 1   IT IS SO STIPULATED.

 2
     Dated:   April 25, 2019                      /s/ Daniel Lars Olsen
 3                                                DANIEL LARS OLSEN
                                                  Attorney for Defendant
 4                                                Eric Lemoyne Willis

 5   Dated:   April 25, 2019                      /s/ John R. Manning
                                                  JOHN R. MANNING
 6                                                Attorney for Defendant
                                                  Darron Dimitri Ross
 7

 8
     Dated:   April 26, 2019                      McGregor W. Scott
 9                                                United States Attorney

10                                                by: /s/ Robert J. Artuz
                                                  ROBERT J. ARTUZ
11                                                Assistant United States Attorney

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14                                        ORDER

15   It is so found and ordered.

16   Dated:   April 29, 2019

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